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             IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION




UNITED STATES OF AMERICA

v.                                                   CASES NO. 5:15cr25-RH/EMT
                                                               5:17cv16-RH/EMT
JAMES CURTIS GRANT,

                  Defendant.

_______________________________/


                          ORDER DENYING THE § 2255 MOTION


         The defendant James Curtis Grant has moved for relief under 28 U.S.C.

§ 2255 based on Johnson v. United States, 135 S. Ct. 2551 (2015). This order

denies the motion.

                                                 I

          Johnson addressed the armed career criminal act, 18 U.S.C. § 924(e). The

act applies to a defendant who is convicted of possessing a firearm as a convicted

felon and who has three or more prior convictions of a violent felony or serious

drug offense. Johnson held unconstitutionally vague part of the definition of a

violent felony—the part sometimes referred to as the “residual clause.”




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         Mr. Grant pleaded guilty to three offenses: a drug conspiracy, possessing a

firearm in furtherance of the drug offense in violation of 18 U.S.C. § 924(c), and

possessing a firearm as a convicted felon in violation of 18 U.S.C. § 922(g). He

was sentenced in February 2016 based on the career-offender guideline. See U.S.

Sentencing Guidelines Manual § 4B1.1 (2015). The sentence was 360 months, the

low end of the guideline range, on the drug offense; 120 months, the statutory

maximum, on the 922(g) offense, to be served concurrently; and 60 months

consecutive, the statutory minimum, on the 924(c) offense. Mr. Grant was not

treated as an armed career criminal under § 924(e).

         In short, Johnson does not apply to Mr. Grant’s conviction or sentence. He is

not entitled to relief.

                                                 II

         Mr. Grant was treated as a career offender under United States Sentencing

Guidelines Manual § 4B1.1. A career offender must have at least two prior

convictions of a crime of violence or drug trafficking offense. The definition of a

crime of violence is set out in § 4B1.2. At the time of sentencing, the definition

included a residual clause similar to the one that Johnson held unconstitutional.

         This does not entitle Mr. Grant to relief. In Beckles v. United States, 137 S.

Ct. 886 (2017), the Supreme Court held that the vagueness principle underlying




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Johnson does not apply to the Sentencing Guidelines. Applying the career-offender

residual clause to Mr. Grant was not unconstitutional.

                                                III

         United States Sentencing Guidelines Amendment 798 has changed the

career-offender definition of a crime of violence to eliminate the residual clause. If

Mr. Grant was sentenced today, he would not be treated as a career offender. But

Mr. Grant’s sentence cannot be changed based on Amendment 798.

         Under 18 U.S.C. § 3582(c), a district court “may not modify a term of

imprisonment once it has been imposed,” subject to specific exceptions. The only

exception dealing with guideline amendments provides:

             [I]n the case of a defendant who has been sentenced to a term of
             imprisonment based on a sentencing range that has subsequently
             been lowered by the Sentencing Commission . . . the court may
             reduce the term of imprisonment, after considering the factors set
             forth in section 3553(a) to the extent that they are applicable, if
             such a reduction is consistent with applicable policy statements
             issued by the Sentencing Commission.

Id. § 3582(c)(2) (emphasis added).

         The “applicable policy statements issued by the Sentencing Commission,”

within the meaning of § 3582(c)(2), are set out in United States Sentencing

Guidelines Manual § 1B1.10. That section lists the amendments that may be

applied retroactively—that is, the amendments under which a court may reduce a

sentence that has already been imposed.



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         The Commission has not added Amendment 798 to the list of retroactive

amendments. A court thus may not reduce a sentence under Amendment 798.

                                                IV

         Mr. Grant asserts that he has a constitutional right to application of the new

guideline—that is, to a sentence reduction based on Amendment 798. That is

incorrect. There is “no constitutional requirement of retroactivity that entitles

defendants sentenced to a term of imprisonment to the benefit of subsequent

Guidelines amendments.” Dillon v. United States, 560 U.S. 817, 828 (2010); see

also United States v. Johnson, 703 F.3d 464, 469 (8th Cir. 2013).

                                                 V

         A defendant may appeal the denial of a § 2255 motion only if the district

court or court of appeals issues a certificate of appealability. Under 28 U.S.C.

§ 2253(c)(2), a certificate of appealability may issue “only if the applicant has

made a substantial showing of the denial of a constitutional right.” Miller-El v.

Cockrell, 537 U.S. 322, 335-38 (2003); Slack v. McDaniel, 529 U.S. 473, 483-84

(2000); Barefoot v. Estelle, 463 U.S. 880, 893 n.4 (1983); see also Williams v.

Taylor, 529 U.S. 362, 402-13 (2000) (setting out the standards applicable to a

§ 2254 petition on the merits). As the Court said in Slack:

             To obtain a COA under § 2253(c), a habeas prisoner must
             make a substantial showing of the denial of a constitutional
             right, a demonstration that, under Barefoot, includes
             showing that reasonable jurists could debate whether (or, for

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             that matter, agree that) the petition should have been
             resolved in a different manner or that the issues presented
             were “adequate to deserve encouragement to proceed
             further.”

529 U.S. at 483-84 (quoting Barefoot, 463 U.S. at 893 n.4). Further, in order to

obtain a certificate of appealability when dismissal is based on procedural grounds,

a petitioner must show, “at least, that jurists of reason would find it debatable

whether the petition states a valid claim of the denial of a constitutional right and

that jurists of reason would find it debatable whether the district court was correct

in its procedural ruling.” Id. at 484.

         Mr. Grant has not made the required showing. This order thus denies a

certificate of appealability. If Mr. Grant wishes to be heard further on the

certificate-of-appealability issue, he may move for a certificate of appealability,

and the issue will be reconsidered de novo.

                                                VI

         For these reasons,

         IT IS ORDERED:

         1. The motion for relief under 28 U.S.C. § 2255, ECF No. 277, is denied.

         2. A certificate of appealability is denied.

         SO ORDERED on June 19, 2018.

                                               s/Robert L. Hinkle
                                               United States District Judge



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